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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                    4:16CR3081

       vs.
                                                                       ORDER
ISAIAH D. BROWN, KENTRELL J. REED,

                      Defendants.

       Defendant Brown has moved to continue the trial currently set for August 22, 2016.
(Filing No. 26). As explained in the motion, the defendant needs additional time to investigate
this case and prepare for trial. The motion to continue is unopposed. Based on the showing set
forth in the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant’s motion to continue, (filing no. 26), is granted.

       2)     As to both defendants, the trial of this case is set to commence before the
              Honorable John M. Gerrard, United States District Judge, in Courtroom 1, United
              States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on October 24, 2016, or as
              soon thereafter as the case may be called, for a duration of four (4) trial days.
              Jury selection will be held at commencement of trial.

       3)     Based upon the showing set forth in the defendant’s motion and the
              representations of counsel, the Court further finds that the ends of justice will be
              served by continuing the trial; and that the purposes served by continuing the trial
              date in this case outweigh the interest of the defendant and the public in a speedy
              trial. Accordingly,

              a.      As to both defendants, the additional time arising as a result of the
                      granting of the motion, the time between today’s date and October 24,
                      2016, shall be deemed excludable time in any computation of time under
                      the requirements of the Speedy Trial Act, because although counsel have
                      been duly diligent, additional time is needed to adequately prepare this
                      case for trial and failing to grant additional time might result in a
                      miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).
              b.      Failing to timely file an objection to this order as provided in the local
                      rules of this court will be deemed a waiver of any right to later claim the
                      time should not have been excluded under the Speedy Trial Act.

              August 17, 2016.
                                                    BY THE COURT:
                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
